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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA ee
JACKSONVILLE DIVISION em

veg: ed

UNITED STATES OF AMERICA fa =

v. CASE NO. 3:21-cr- IO Mad Page R.
26 U.S.C. § 5861(d)
KRISTOPHER JUSTINBOYER ERVIN
INDICTMENT
The Grand Jury charges:
COUNT ONE
On or about January 15, 2021, in the Middle District of Florida, the
defendant,
KRISTOPHER JUSTINBOYER ERVIN,
did knowingly possess a firearm, that is, a machinegun conversion device
constituting a machinegun, as defined in 26 U.S.C. §§ 5845(a) and 5845(b),
which was not then registered to the defendant in the National Firearms

Registration and Transfer Record as required by 26 U.S.C. § 5841.

In violation of 26 U.S.C. §§ 5861(d) & 5871.
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FORFEITURE

1. The allegations contained in Count One are incorporated by
reference for the purpose of alleging forfeiture pursuant to the provisions of 26
U.S.C. § 5872, 28 U.S.C. § 2461 (c), and 49 U.S.C. § 80303.

2, Upon conviction of a violation 26 U.S.C. § 5861, the defendant,
KRISTOPHER JUSTINBOYER ERVIN, shall forfeit to the United States,
pursuant to 26 U.S.C. § 5872 and 28 U.S.C. § 2461(c), any firearms involved
in the violation, and, pursuant to 49 U.S.C. § 80303 and 28 U.S.C. § 2461(c),
any aircraft, vehicle, or vessel used to facilitate the transportation,
concealment, receipt, possession, purchase, sale, exchange, or giving away of
such firearm.

Bs If any of the property described above, as a result of any act or

omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third
person;

C. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be

subdivided without difficulty;
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the United States shall be entitled to forfeiture of substitute property pursuant

to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

A TRUE BILL,

Cee lar. Ried een” Selunaer

Foreperson

KARIN HOPPMAN
Acting United States Attorney

By: OX Rin Cs On.

LAURA COFER TAYLOR™
Assistant United States Attorney

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KELLY &/KARASE
Assistant United States Attorney
Deputy Chief, Jacksonville Division
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FORM OBD-34
3/10/21 Revised No.

 

UNITED STATES DISTRICT COURT
Middle District of Florida
Jacksonville Division

THE UNITED STATES OF AMERICA
VS.

KRISTOPHER JUSTINBOYER ERVIN

 

 

INDICTMENT

Violations: 26 U.S.C. § 5861(d)

 

A true bill,

ron

 

Filed in open court this | |th day

of March, 2021
ph sd —

Clerk

 

Bail $

 

 

 

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